      Case 2:11-cr-00191-MHT-CWB Document 590 Filed 06/17/16 Page 1 of 2




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA               )
                                       )      CRIMINAL ACTION NO.
        v.                             )         2:11cr191-MHT
                                       )              (WO)
BRIAN JAVORIS WALKER                   )

                            OPINION AND ORDER

       Amendment 782 to the 2014 edition of the Sentencing

Guidelines         revised      the     guidelines            applicable    to

drug-trafficking offenses.              Following the United States

Sentencing        Commission’s        decision     to     give   retroactive

effect       to   the     amendment,       this    court      established    a

Retroactivity Screening Panel to determine whether a

defendant         might    be    eligible         for     a    reduction    of

sentence.         Upon consideration of the recommendation of

the      Retroactivity          Screening         Panel       (doc. no. 578)

entered April 21, 2016, based upon the agreement of the

parties, and after an independent and de novo review of

the record, it is ORDERED as follows:
   Case 2:11-cr-00191-MHT-CWB Document 590 Filed 06/17/16 Page 2 of 2




    (1)    Defendant     Brian    Javoris    Walker’s     motion        for

resentencing     in    absentia     (doc. no. 585),          which      the

court has been informed that the government does not

oppose, is granted.

    (2)     Defendant      Walker’s       motions      for     sentence

reduction (doc. nos. 527 & 574) and the parties’ joint

motion     for   sentence      reduction       (doc. no. 584)           are

granted.

    (3) Defendant Walker’s sentence is reduced from 120

months to 105 months of imprisonment.

    DONE, this the 17th day of June, 2016.

                                    /s/ Myron H. Thompson____
                                 UNITED STATES DISTRICT JUDGE
